
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-405-CV

BRIAN GREEN	APPELLANT



V.



DEUTSCHE BANK NATIONAL TRUST COMPANY	APPELLEE



----------

FROM THE 362ND DISTRICT COURT 
OF DENTON COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

On &nbsp;January 6, 2009, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;
Tex. R. App. P.
 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 
Tex. R. App. P.
 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		



PANEL: &nbsp;DAUPHINOT, GARDNER, and WALKER, JJ. &nbsp;



DELIVERED: &nbsp;February 5, 2009 &nbsp;







FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




